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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

DAVID BENT,

       Plaintiff,

vs.                                                      CASE NO. 3:11-cv-66-J-TEM

SMITH, DEAN & ASSOCIATES, INC.,
and LISA SMITH,

     Defendants.
___________________________________


                                        ORDER

       This case is before the Court sua sponte. Plaintiff, through counsel, initiated this

lawsuit pursuant to the Fair Debt Collection Practices Act (“FDCPA”), the Florida Consumer

Collection Practices Act (“FCCPA”), and the Telephone Consumer Protection Act (“TCPA”)

by filing a Complaint (Doc. 2) in the Circuit Court of the Fourth Judicial Circuit in and for

Duval County, Florida. This case was removed from the state court on January 21, 2011.

       The parties filed a Case Management Report on March 18, 2011 (Doc. 22), and a

Case Management and Scheduling Order was entered on July 15, 2011 (Doc. 30). On

October 17, 2011, Defendant Smith, Dean & Associates, Inc. filed a Suggestion of

Bankruptcy (Doc. 38). Defendant Smith, Dean & Associates, Inc. advised the Court that

it filed a voluntary petition for relief under Chapter 11, Title 11, of the United States Code

with the United States Bankruptcy Court for the Middle District of Florida, case number

3:11-bk-07453. On January 19, 2012, the Court stayed and administratively closed the
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case as to Defendant Smith, Dean & Associates, Inc. (Doc. 48). The parties were ordered

to advise the Court every 90 days of the status of the bankruptcy proceedings.1

       On September 6, 2012, Counsel for Plaintiff informed the Court that the Smith, Dean

& Associates, Inc. bankruptcy had been converted from a Chapter 11 to Chapter 7 due to

Defendant Lisa Smith’s illness (Doc. 62). Counsel stated he was in the process of

informing Plaintiff and would thereafter advise the Court of how Plaintiff plans to proceed

in this action. However, a status report was never filed. On November 19, 2012, the Court

issued an Order directing Plaintiff to file a status report by December 3, 2012 advising the

Court of the status of the matter and how Plaintiff intends to proceed (Doc. 64). Plaintiff did

not file a status report and failed to comply with the Court’s Order. Thus, the Court ordered

Plaintiff to show cause by December 28, 2012 why this matter should not be dismissed for

Plaintiff’s failure to comply with a court order and failure to prosecute this action (Doc. 65).

Plaintiff failed to respond to the Order to Show Cause. Thereafter, on June 10, 2013, the

Court issued a second Order to Show Cause. The Court noted the parties in the case have

failed to comply with several of the Court’s Orders, including failing to file status reports as

directed. The Court provided Plaintiff one last opportunity to show cause for the failure to

comply with Court orders and to prosecute this action (Doc. 66). The Court directed Plaintiff

to respond by June 24, 2013, and warned that failure to comply “shall result in dismissal

of this action.” Plaintiff failed to respond to the Court’s Order.

       Dismissal with prejudice should only be ordered in extreme circumstances as a

“sanction of last resort.” McIntosh v. Gauthier, 182 Fed. Appx. 884, 886 (11th Cir. 2006)


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         The Court had also previously ordered Defendant Smith, Dean & Associates, Inc.
to obtain counsel no later than November 21, 2011 (Doc. 42), which Defendant failed to do.

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(citing Goforth v. Owens, 766 F.2d 1533, 1535 (11th Cir. 1985)). A court should consider

the record as a whole and determine “whether there is a ‘clear record of delay or willful

contempt and a finding that lesser sanctions would not suffice.” Goforth, 766 F.2d at 1535

(quoting Link v. Wabash R.R. Co., 370 U.S. 626, 630-31 (1962)). The case before the

Court presents circumstances that justify the sanction of dismissal with prejudice. The

Court cannot find that a lesser sanction is warranted here. Plaintiff has not taken any

action in this matter in more than nine months, and review of the docket sheet for the

United States Bankruptcy Court for the Middle District of Florida reveals the bankruptcy

case was closed on January 18, 2013. See In re Smith, Dean & Associates, Inc., 3:11-bk-

7453-PMG (M.D. Fla. Jan. 18, 2013), ECF No. 75. The Court finds Plaintiff has shown

disregard for the Court’s orders in this litigation, the Federal Rules of Civil Procedure, and

the Local Rules of the Middle District of Florida. Plaintiff has been afforded ample

opportunity to comply with orders of this Court. Plaintiff has failed to show cause, despite

having two opportunities to do so. The failure of Plaintiff to participate in the prosecution

of this case, combined with the failure to respond to direct Court orders, is found to be a

clear record of willful delay, contempt and disobedience. See Sussman v. Salem, Saxon

& Nielson, P.A., 154 F.R.D. 294, 299-301 (M.D. Fla. 1994). Therefore, pursuant to Rule

41(b), dismissal of this action is appropriate. See Brown v. Tallahassee Police Dept., 205

Fed. Appx. 802, 802 (11th Cir. 2006) (“The court may dismiss an action sua sponte under

Rule 41(b) for failure to prosecute or failure to obey a court order. . . . Dismissal pursuant

to Rule 41(b) upon disregard of an order, especially where the litigant has been

forewarned, generally is not an abuse of discretion.”) (internal citations and quotations

omitted); see also Local Rule 3.10(a) (stating “[w]henever it appears that any case is not

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being diligently prosecuted” and the plaintiff fails to satisfactorily respond to an order to

show cause, the Court may, on its own or on motion of any party, dismiss the case for lack

of prosecution).

       Accordingly, it is hereby ORDERED:

       1. This case is DISMISSED with prejudice for failure to prosecute.

       2. The Clerk of the Court is directed to terminate all pending motions and deadlines

as moot and close the file.

       DONE AND ORDERED at Jacksonville, Florida this 1st day of July, 2013.




Copies to all counsel of record
      and pro se parties




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